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                                                                      July 13, 2023

BY ECF:
The Honorable Lewis J. Liman
United States District Judge



Re:             Keawsrei, et al, v. Ramen-ya, Inc., et al., 17 CV 2406 (LJL)


Dear Judge Liman:

      I, once again, request that the Court permit me to withdraw as counsel for Mr. and
Mrs. Negita.

        I am mindful of the procedural posture of the case and the implications my
withdrawal would have. However, I am in an untenable position where advancing the
interest of one client might be detrimental to the interest of another. There is an inherent
conflict with my joint presentation in these post-judgment proceedings.

        In addition, I wish to clarify something for the record: my position that defendants
do not have any objections to the Court’s authority to refer this matter or any matter to the
U.S. Attorney’s Office. That position is based on the fact that the Court has the inherent
power to police the cases and parties before it and could make such a referral. However,
my position does not mean that the Court should make the referral. This is particularly
true based on the joint-representation position of the Negitas and the recent submission by
Ms. Maki’s new counsel.

       Thank you.


                                                               Respectfully,

                                                               /s
                                                               Vik Pawar (VP9101)
Cc:    All counsel
